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 9                       UNITED STATES DISTRICT COURT

10                      CENTRAL DISTRICT OF CALIFORNIA

11
     VICTOR ROSALES,                     No. 5:21-cv-00735-MAA
12
                    Plaintiff,
13                                       ORDER FOR THE AWARD OF
     v.                                  ATTORNEY FEES PURSUANT TO
14                                       THE EQUAL ACCESS TO JUSTICE
     KILOLO KIJAKAZI, Acting
15   Commissioner of Social Security,    ACT, 28 U.S.C. § 2412(d)
                                         AND COSTS PURSUANT TO
16                  Defendant.           28 U. S. C. § 1920
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 1         The Court having approved the stipulation of the parties, IT IS ORDERED
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     that Plaintiff be awarded attorney fees under the Equal Access to Justice Act, 28
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 4   U.S.C. § 2412(d), in the amount of ONE THOUSAND FOUR HUNDRED

 5   SEVENTY-FOUR DOLLARS AND EIGHTY ONE CENTS ($1,474.81) and costs
 6
     under 28 U.S.C. § 1920 in the amount of FOUR HUNDRED TWO DOLLARS
 7

 8   AND NO CENTS ($402.00).
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     DATE: 10/25/2021                      ___________________________________
11                                         HONORABLE MARIA A. AUDERO
12                                         UNITED STATES MAGISTRATE JUDGE
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